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w.D. oF TN. r-AEMPHlS
P|aintiff,

VS.

CR. NO. 05-20204-B
WARD CRUTCHF|ELD, CHARLES LOVE,

Defendants.

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEFHOD OF EXCLUDABLE DELAY
AND SETT|NG

This cause came on for a report date on June 22, 2005. At that time counsel for

the defendant requested a continuance of the Ju|y 5r 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 With a

report date of Thursdav. Ju|v 21, 2005. at 8:45 a.m., in Courtroom 1. 11th F|oor of the
Federa| Bui|ding, |V|emphis, TN.

The period from June 22, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a speedy trial.

IT ls so oRDEnEo this 2` day or une, 2005.

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This notice confirms a copy of the document docketed as number 30 in
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June 23, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

